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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION
 _____________________________________________________________________________
                                          )
REYNALDO MUNOZ,                            )
                                           )
       Plaintiff,                          )
                                           )
       v.                                  )
                                           )     No. 1:23-cv-03210
REYNALDO GUEVARA, JOANN                    )
HALVORSEN as PERSONAL                      )     Honorable Sharon Johnson Coleman
REPRESENTATIVE of the ESTATE OF            )
ERNEST HALVORSEN, EDWIN                    )     Magistrate Judge Young B. Kim
DICKINSON, MICHAEL O'GRADY,                )
JEAN MORETH, LEE EPPLEN, UNKNOWN )
OFFICERS OF THE CHICAGO POLICE             )
DEPARTMENT and the CITY OF CHICAGO, )
                                           )
       Defendants.                         )
_____________________________________________________________________________

     JOINT MOTION BY ALL PARTIES FOR 30 DAY EXTENSION IN WHICH TO
       IDENTIFY WRITTEN DISCOVERY DISPUTES THAT REQUIRE COURT
               INTERVENTION AND FOR THE CITY TO FILE ITS
                  MOTION TO BIFURCATE MONELL ISSUES

        The Parties, by and through their attorneys, jointly move for a thirty-day extension of

time in which to identify written discovery disputes that require court intervention and for the

City to file its motion to bifurcate Monell issues. In support thereof the parties state as follows:

    1. Consistent with this Court’s December 21, 2023, order [Dkt. 76] all parties, except
       Defendant Guevara served answers to written discovery requests on January 5, 20241.

    2. On January 11, 12 and 16, 2024, the parties had three lengthy meet and confers that
       lasted over six hours where they made substantial progress discussing deficiencies with
       the parties’ respective discovery responses.


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  Due to his counsel’s trial in an unrelated matter, Defendant Guevara provided his answers to Plaintiff’s discovery
requests on January 16, 2024. Plaintiff and counsel for Defendant Guevara engaged in a separate meet and confer
regarding Plaintiff’s answers to Defendant Guevara’s written discovery. In accordance with the agreements with the
remaining Defendants, as outlined herein, Plaintiff has agreed to amend his answers to Defendant Guevara’s written
discovery by January 26, 2024.
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3. All parties have agreed to consider the identified deficiencies and amend responses where
   appropriate by January 26, 2024. The parties are confident that they will be able to reduce
   their disagreements.

4. The Defendant City of Chicago has indicated they intend to file a Motion to Bifurcate
   Monell issues [by February 2, 2024]. Despite the City’s intention to move for bifurcation,
   Plaintiff and Defendant City of Chicago had productive conversations about the scope of
   Plaintiff’s Monell claims in the event bifurcation is denied.

5. The parties recognize that this Court’s deadline was firm and the parties fully expected to
   comply with the Court’s deadline but the January 11 and January 12 conferrals were very
   productive and the parties did not want to cut them short. The next available date for all
   parties to complete the conferral process was January 16. Based on the total progress
   made and the agreement to revisit the identified deficiencies and amend responses in
   accordance with the discussions the parties need additional time to finalize the remaining
   disputes.

6. Counsel for the Individual Officer Defendants requests the extension for the additional
   reason that they have encountered some difficulties consulting with their clients, all of
   whom are more than 70-years-old. Specifically, one of the Individual Officer Defendants
   lost his wife around Christmas, is staying with other family members, and while he has
   been as responsive as could be expected under those circumstances, counsel’s access to
   him has been understandably restricted and his ability to now focus on the specifics of an
   investigation that occurred 38 years ago has been limited. Another of the Individual
   Officer Defendants has been recently hospitalized, first in intensive care and then in a
   rehabilitation section, with Covid. Another of the Individual Defendant Officers is 80-
   years-old, home-bound, is not computer savvy and sitting down to discuss paperwork,
   pleadings, or discovery responses for an extended time is difficult for him so the process
   of answering discovery for him must be done in stages.

7. As such, the parties are requesting a thirty-day extension of time to file the joint status
   report identifying written discovery disputes.

8. The parties appreciate this court’s willingness to assist in discovery and will likely
   require the court’s assistance on some matters, but the conferral process has resolved
   many disputes but the parties are still in the process of defining the discovery dispute that
   require court intervention. The parties have worked together cooperatively and
   expeditiously and expect to have their discovery disputes teed up within 30 days.

9. For the foregoing reasons, the parties jointly request until Monday February 19, 2024 to
   file a joint status report identifying written discovery disputes and until February 2, 2024
   for the City to file their motion to bifurcate.




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                                  Respectfully Submitted,

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